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Amanda Spradling




September 17, 2024

To Whom It May Concern,

I hope this letter finds you well. I am writing to share my thoughts on my good friend, Ryan Zink.
Having known him for over two years, I can confidently say that his strong character,
unwavering integrity, work ethic, and deep faith have profoundly impacted my life and the lives
of those around him.

From the moment we met, Ryan’s genuine kindness made a lasting impression on me. He is
devoted to his family and friends and his unwavering loyalty to those around him is cherished.
I’ve seen him offer genuine support to friends in need, always ready to lend an ear or a helping
hand. His empathy shines through in everything he does, and it’s a quality I deeply admire.

What truly sets Ryan apart is his unwavering integrity. He stands firmly by his principles,
consistently choosing to do what is right, even when faced with difficult choices. This moral
compass is rooted in his faith, which guides him in both his personal and professional life. His
commitment to living out his values inspires those around him to do the same.

Ryan’s work ethic is equally impressive. He approaches every task with dedication and a
positive attitude. His determination to give his best in all he does motivates others to reach their
full potential.

Above all, Ryan’s faith is the cornerstone of his character. It informs his decisions and shapes
his relationships. He approaches challenges with a sense of grace and gratitude, reminding
those around him of the importance of kindness and compassion.

In summary, Ryan Zink embodies integrity, compassion, a strong work ethic, and a deep faith.
Anyone would be fortunate to have him in their corner. I wholeheartedly recommend him without
reservation.


Warm regards,

Amanda Spradling
